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   minor child; JOSHUA G. G.; and KARL LUIS
18 G. G., minor child

19                                UNITED STATES DISTRICT COURT

20                              NORTHERN DISTRICT OF CALIFORNIA

21                                      OAKLAND DIVISION

22   WILBUR P.G., et al.,                     )   CASE NO. 4:21-cv-4457-KAW
                                              )
23             Plaintiffs,                    )
                                              )   FURTHER JOINT CASE MANAGEMENT
24      v.                                    )   STATEMENT
                                              )
25   UNITED STATES OF AMERICA,                )
                                              )
26             Defendant.                     )
                                              )   Honorable Kandis A. Westmore
27                                            )

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 1             The parties to the above-captioned action jointly submit this FURTHER CASE

 2 MANAGEMENT STATEMENT pursuant to the Court’s January 17, 2023 Order (ECF No. 65) and

 3 Section 8 of the Court’s Standing Order:

 4             1. Jurisdiction and Service

 5             Plaintiffs bring this action under the Federal Tort Claims Act (“FTCA”), 28 U.S.C. §§ 1346,

 6 2671 et seq. There are no known issues regarding personal jurisdiction, venue, or service at this time.

 7 Defendant has been served.

 8             Defendant asserts that the Court lacks subject-matter jurisdiction for the reason that Congress has

 9 not waived the federal government’s sovereign immunity from claims for money damages in the

10 circumstances presented in this case.

11             2. Facts

12             This case concerns three Plaintiff families that entered the United States by crossing from

13 Mexico into Arizona in or around May 2018. ECF No. 1 ¶ 3. Plaintiffs are three pairs of parents and

14 children, totaling six individuals: a father and son from El Salvador (using pseudonyms Wilbur P.G. and

15 Wilfredo Baltazar P.E.), one mother and daughter from Guatemala (using pseudonyms Erendira C.M.

16 and Yasmin Alicia M.C.) and one father and son from Guatemala (using pseudonyms Joshua G.G. and

17 Karl Luis G.G.) (collectively “Plaintiffs”). Id. ¶¶ 10-12. Plaintiffs allege that “[t]he government forcibly

18 separated these parents and children in CBP’s [Customs and Border Protection] Arizona facilities

19 without notice or explanation,” and “Plaintiffs then spent weeks detained in different facilities with the

20 government facilitating little to no communication between parents and children.” Id. ¶ 67.

21             According to the Complaint, Plaintiffs’ separations resulted from the United States’ adoption of a

22 “Family-Separation Policy” that “intentionally separat[ed] immigrant families [] for the express purpose

23 of causing families emotional harm.” ECF No. 1 ¶ 1. Plaintiffs allege that “[t]he policymakers who

24 created and directed the implementation of the Policy sought to ‘deter’ immigrants, believing that if

25 arriving asylum-seekers were subjected to inhumane treatment—including the severe emotional distress

26 of having their children taken from them—they would ‘give up’ on their asylum applications and agree
27 to be deported from the United States.” Id. ¶ 2. Plaintiffs allege that the parents were separated from

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 1 their children for months, oftentimes without knowing anything about where their children were, and

 2 with the children thinking they would never see their parents again. Id. ¶¶ 56-57. Plaintiffs were

 3 ultimately reunited after months of detention, but they continue to suffer prolonged effects related to

 4 their forcible separation. Id. ¶¶ 111-116, 150-152, 194-196.

 5             Defendant admits that in 2018, the United States implemented a Zero-Tolerance policy which

 6 directed federal prosecutors along the Southwest border “to the extent practicable, and in consultation

 7 with DHS, to adopt immediately a zero-tolerance policy for all offenses referred for prosecution under

 8 section 1325(a).” ECF No. 45 ¶¶ 45, 54. Defendant further admits that some families were separated at

 9 the United States–Mexico border during the Zero-Tolerance policy, and some children were classified as

10 Unaccompanied Children (“UCs”) and transported to Office of Refugee Resettlement (“ORR”)-funded

11 care provider facilities. Id. ¶ 16, 54. Defendant contends that federal law required that children be placed

12 into ORR custody once the children were classified as UCs. ECF No. 29 at 2:21-3:6, 3:26-4:10.

13 Defendant denies that the Zero-Tolerance policy was a pretext to justify separation of a child from the

14 child’s parent. ECF No. 45 ¶ 53. Defendant admits that the three Plaintiff families in this action were

15 separated. Id. ¶ 54.

16             3. Legal Issues

17             Plaintiffs assert five causes of action under Arizona law for intentional infliction of emotional

18 distress, negligence, abuse of process, negligent supervision/breach of fiduciary duty, and loss of

19 consortium arising out of Plaintiffs’ separation after crossing into the United States. ECF No. 1 ¶¶ 214-

20 240. Plaintiffs claim that they suffered extreme emotional distress when they were separated, during

21 their separation and after they were reunified. Id. ¶ 4. Defendant denies that Plaintiffs are entitled to the

22 requested relief and asserts various defenses, including that Plaintiffs’ claims are barred to the extent

23 that they are based on the exercise or performance, or the failure to exercise or perform, a discretionary

24 function or duty. ECF No. 45 at 33 ¶ 2.

25             Accordingly, the parties believe the Court may be called upon to resolve a number of legal

26 issues, including but not limited to: (1) whether Defendant intentionally inflicted emotional distress
27 upon Plaintiffs; (2) whether Defendant breached any duties of care to Plaintiffs that proximately caused

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 1 them damages; (3) whether Defendant abused judicial process in the conduct of proceedings against

 2 Plaintiffs; (4) whether Defendant breached a fiduciary duty in its supervision of, or negligently

 3 supervised, Plaintiff children, thereby proximately causing them damage; (5) whether Plaintiffs suffered

 4 a loss of consortium; (6) whether Plaintiffs’ claims are barred by the discretionary function exception to

 5 the FTCA; (7) whether Plaintiffs’ claims are barred by the FTCA’s due care exception (28 U.S.C.

 6 § 2680(a)); and (8) whether Plaintiffs’ claims are barred because the challenged government actions

 7 have no private-person analogue.

 8             4. Motions

 9                              (i)    Motion to Transfer; Motion to Dismiss

10             On January 5, 2022, Defendant filed a Motion to Transfer; Motion to Dismiss, which the parties

11 fully briefed. ECF Nos. 29, 40, 41. The Court denied the motions on May 10, 2022. ECF No. 44.

12                              (ii)   Unopposed Motion for Protective Order Relief

13             On September 6, 2022, Defendant filed an unopposed administrative motion for protective order

14 relief. ECF No. 54. The Court granted this motion on September 7, 2022, resulting in the entry of a

15 protective order for use in this litigation.

16             5. Amendments to the Pleadings

17             The parties have no plans to amend the pleadings.

18             6. Evidence Preservation

19             The parties previously certified that they have reviewed the Guidelines Relating to the Discovery

20 of Electronically Stored Information (“ESI Guidelines”), and confirmed that they met and conferred

21 pursuant to Fed. R. Civ. P. 26(f) regarding reasonable and proportionate steps taken to preserve evidence

22 relevant to the issues reasonably evident in this action.

23             7. Disclosures

24             As part of the initial case management process, the parties agreed to engage in two disclosure

25 exchanges prior to the opening of discovery on September 13, 2022. ECF No. 47 at 4-5. The parties

26 made their disclosure of documents dependent on the execution of privacy waivers by each Plaintiff and
27 the entry of an appropriate protective order. Id. The privacy waivers were executed on July 18, 2022,

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 1 and the Court entered a stipulated protective order on September 7, 2022. Subsequently,

 2 on September 9, 2022, Defendant produced 200,731 pages of documents bearing the Bates range CD-

 3 US-U-00000001 to CD-US-0200731A. On September 13, 2022, Plaintiffs produced nine pages of

 4 documents bearing the Bates range PGPLFS00000001 to PGPLFS00000009.

 5             8. Discovery

 6                            (i)    Discovery Schedule

 7             Pursuant to the parties’ agreement during the initial case management process, formal discovery

 8 in this case opened on September 13, 2022. ECF No. 47 at 8. Fact discovery is currently scheduled to

 9 close on June 9, 2023. ECF No. 50. The parties agree that the fact discovery cutoff should be extended

10 three months to September 8, 2023; that expert discovery should be extended three months to November

11 10, 2023; and that summary judgment briefing should be extended approximately one month. But the

12 parties disagree on the extent to which the pretrial and trial schedule should be altered as a result. The

13 parties discuss their competing proposals in § 16, below.

14                            (ii)   Orders On Prior Discovery Disputes

15             On March 10, 2023, the Court ruled on four then-pending discovery disputes. ECF No. 70. The

16 Court denied Plaintiffs’ request for a revised Common Discovery1 privilege log; granted Defendant’s

17 request that Plaintiffs provide supplemental responses to Defendant’s RFP No. 4 and Interrogatory No.

18 4; denied Plaintiffs’ request to modify the Protective Order; and granted-in-part and denied-in-part

19 Defendant’s request that Plaintiffs produce additional documents in response to Defendant’s RFP No. 1.

20 See id. The Court ordered Plaintiffs to serve supplemental responses and documents within 21 days, or

21 March 31, 2023. Id. at 5. On March 31, Plaintiffs served supplemental responses and produced

22 additional documents in accordance with the Court’s March 10 order. Defendant is currently reviewing

23 Plaintiffs’ supplemental response and productions.

24             On April 11, 2023 (the same day this Joint Case Management Statement is being filed), the Court

25 ruled on another discovery dispute. ECF No. 72. The Court granted Plaintiffs’ requests that Defendant

26
27
    “Common Discovery” is the term the parties use to refer to Defendant’s production of “policy-level”
     1

28 documents that Defendant produced in similar litigation pending in the District of Arizona.
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 1 supplement its responses to Plaintiffs’ Interrogatory Nos. 6 and 8, and ordered Defendant to provide

 2 such supplemental responses within 21 days.

 3                            (iii)   Discovery Served Since Last Case Management Conference

 4             Since the January 17, 2023 case management conference, the parties have served the following

 5 new discovery requests:

 6             On January 19, 2023, Plaintiffs served their Second Set of Requests for Production, consisting of

 7 a single request. Defendant served its response on February 21, 2023.

 8             On March 10, 2023, Plaintiffs served their Third Set of Requests for Production, Second Set of

 9 Interrogatories, and First Set of Requests for Admission. These sets consisted of 36 requests for

10 production, four numbered interrogatories, and 43 requests for admission. Defendant served its

11 responses and objections to the Third Set of RFPs and the Second Set of Interrogatories on April 10,

12 2023. At Defendant’s request, which was prompted by the need for the several federal agencies at issue

13 to sufficiently consider and respond to Plaintiffs’ 43 requests for admission, Plaintiffs granted Defendant

14 a two-week extension on the First Set of RFAs, responses to which are now due on April 24, 2023.

15             On March 10, 2023, Plaintiffs also served supplemental responses to Defendant’s Interrogatories

16 Nos. 1 and 3.

17             On March 24, 2023, Defendant served its Second Set of Requests for Production and Second Set

18 of Interrogatories. These sets consisted of three requests for production and six numbered

19 interrogatories. Plaintiffs’ responses are due on April 24, 2023.

20             On March 28, 2023, Plaintiffs served a supplemental response to Defendant’s Interrogatory No.

21 5.

22             On April 4 and 5, Plaintiffs served subpoenas and deposition notices on two of Defendant’s

23 contractors that took physical custody of the minor Plaintiffs during the events at issue. No other

24 depositions have been noticed or taken.

25                            (iv)    Document Productions Since Last Case Management Conference

26             Plaintiffs have made two productions since the January 17, 2023 case management conference,

27 on March 17, 2023 and March 31, 2023 totaling 1,920 pages (PGPLFS00000173 to PGPLFS00002092).

28
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 1             Defendant has made three productions since the January 17, 2023 case management conference,

 2 on March 3, 2023, March 20, 2023, and March 29, 2023. The March 3 and March 29 productions

 3 totaled 7,836 pages (USA00022685 to USA00030520). The March 20 production consisted of an up-to-

 4 date production of all “Common Discovery” from the Arizona litigation (including documents which

 5 were produced to Plaintiffs in this litigation previously; documents for which technical issues had been

 6 corrected; documents for which redactions had been changed based on privilege rulings in the Arizona

 7 litigation, and documents which were otherwise newly produced in the Arizona litigation), totaling

 8 219,829 pages (CD-US-U-00000001 to CD-US-0219829). This re-production of the “Common

 9 Discovery” includes 2,765 documents, containing 9,443 pages, that Defendant had not previously

10 produced. Due to the volume of documents involved and the fact that they were processed in the first

11 instance by a separate litigation team, Defendant produced all of the current Common Discovery as a

12 complete set, including documents which were previously produced to Plaintiffs in this litigation. As

13 Plaintiffs describe below in further detail, it is currently unclear to Plaintiffs whether the nature of the

14 March 20 production is prejudicial to Plaintiffs, and Plaintiffs are seeking to confer on that point.

15                            (v)     Ongoing Discovery Issues

16             The parties have been engaged in meet and confer efforts on several additional issues relating to

17 the parties’ outstanding discovery requests and responses. Below is a non-exhaustive list of the topics in

18 the parties’ meet and confer discussions. With respect to any issues that become ripe for judicial

19 intervention, as necessary the parties will crystallize those disputes and thereafter file discovery letters

20 pursuant to Section 14 of the Court’s Standing Order.

21                                    (a)     Defendant’s Responses to certain of Plaintiffs’ “Policy-Level”
                                              Requests for Production
22
               Plaintiffs’ position: Out of 38 “policy-level” (i.e., non-plaintiff-specific) Requests for
23
     Production (Set One), Defendant has agreed to a case-specific search for documents responsive to just
24
     two RFPs. For the remaining 36 requests, Defendant refuses to search for or produce responsive
25
     documents beyond those already included in the “Common Discovery.” However, simply producing the
26
     Common Discovery and departing the field is improper. Plaintiffs had no control over discovery in the
27
     Arizona litigation, and Plaintiffs disagree that the “Common Discovery” adequately responds to
28
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 1 Plaintiffs’ RFPs. In particular, Plaintiffs have identified several issues that render the Arizona discovery

 2 procedures insufficient to respond to Plaintiffs’ Requests for Production, including inadequate

 3 custodians, incomplete search terms, improper date ranges, and a Technology Assisted Review (“TAR”)

 4 procedure that Plaintiffs did not agree to. (Defendant first disclosed the Arizona parties’ use of TAR to

 5 Plaintiffs on March 31, 2023.)

 6             The parties already held the conference between lead counsel on this issue that is required by the

 7 Court prior to raising a discovery dispute, but at the conclusion of that conference, the parties agreed to

 8 continue conferring in writing. Plaintiffs provided compromise proposals on some of these issues, but

 9 Defendant did not agree to supplement any of the searches conducted in the Arizona litigation. Thus, on

10 April 10, Plaintiffs demanded a final conference on these (and other) issues within ten days, pursuant to

11 the Court’s Standing Order. Defendant, citing scheduling conflicts, stated that it is unavailable to confer

12 until May 2. Recognizing that any compelled document production would take time, Plaintiffs proposed

13 limiting the conference to just these RFPs and agreeing to a flexible briefing schedule. Defendant

14 refused. Although the impasse is apparent, Plaintiffs will comply with the Court’s Standing Order and

15 wait for the Government to make itself available before filing a motion to compel.

16             Defendant’s position: Plaintiffs misrepresent Defendant’s discovery responses and productions

17 of policy-level documents. Contrary to Plaintiffs’ assertion, Defendant searched for and produced

18 documents responsive to almost all of Plaintiffs’ policy-level document requests. For many of these,

19 Defendant’s search primarily consisted of communicating with the DOJ and agency attorneys involved

20 in the Arizona litigation to determine whether the extensive searches conducted in that case were

21 directed toward the same sets of documents Plaintiffs request here. For multiple requests, the relevant

22 agencies did agree to conduct additional searches beyond what was collected in the Arizona litigation,

23 where Defendant determined that the searches conducted in the Arizona litigation were not directed at

24 the documents Plaintiffs requested (and where Defendant agreed that such documents were properly

25 discoverable). Defendant’s search in response to these requests was reasonable, both (1) because of the

26 significant, often verbatim overlap of the requests with those in the Arizona litigation; and (2) because
27 of the comprehensive nature of the document review in the Arizona litigation—which involved

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 1 reviewing several hundred thousand documents, and producing more than 200,000 pages (which

 2 Plaintiffs here now have), at the cost to Defendant of more than 4,000 attorney-hours and countless

 3 additional hours spent by contractors and agency counsel. In spite of the significant resources

 4 Defendant already expended and the vast number of documents Plaintiffs already have to review,

 5 Plaintiffs nevertheless insist that Defendant conduct yet more searches here. Plaintiffs’ demand is

 6 wholly out of proportion with their need for such documents in this FTCA case.

 7             Plaintiffs requested a final meet-and-confer on these issues by April 24. Defendant in good faith

 8 explained that both of its counsel in this matter are unavailable on the same day due to multiple work-

 9 related and personal reasons until May 2 – a mere eight days after the date Plaintiffs requested.

10 Defendant strongly believes that both counsel should be available for any “final conference” under the

11 Court’s scheduling order, as well as during any discovery-dispute briefing, just as Plaintiffs have

12 convened a team of multiple lawyers during the parties’ previous meet and confer conferences and

13 briefing periods. Defendant would hope that the parties could resolve such modest scheduling issues

14 informally, without requiring the Court’s intervention, but Plaintiffs appear to disagree. Defendant will

15 further respond to Plaintiffs’ arguments regarding these requests at the appropriate time.

16                                   (b)     Government’s Production of Plaintiff-Specific Documents
                                             (First Set)
17
               Plaintiffs’ position: Defendant agreed to produce three categories of plaintiff-specific
18
     documents by September 12, 2022. See ECF No. 47 at 4-5; ECF No. 50. Defendant produced the first
19
     such documents on December 8, 2022. (In its section below, Defendant does not dispute this, but
20
     instead discusses the irrelevant production of other documents.) Plaintiffs subsequently identified
21
     several documents missing from Defendant’s production of plaintiff-specific documents. Defendant has
22
     not confirmed when (or even that) it will produce these documents. Accordingly, Plaintiffs do not know
23
     when production of plaintiff-specific documents will be complete. Defendant has also confirmed that it
24
     is withholding portions of plaintiff-specific documents on the basis of privilege. Plaintiffs have
25
     repeatedly requested a privilege log, but Defendant has not provided one.
26
               Defendant’s position: Defendant produced more than 200,000 pages of documents to Plaintiffs
27
     on September 9, 2022. Plaintiffs, by contrast, did not produce any documents to Defendant before the
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 1 agreed-upon date of September 12, 2022, and did not produce any of the medical records they had

 2 agreed to produce by that date until ordered to do so by the Court in March of this year. Defendant has

 3 also produced more than 22,000 pages of Plaintiff-specific documents from multiple federal agency

 4 components after numerous searches. Defendant is coordinating with agency counsel to diligently

 5 search for and produce a small number of additional documents, which Defendant has made clear to

 6 Plaintiffs will be produced promptly if and when they can be located. Finally, Defendant has repeatedly

 7 informed Plaintiffs that Defendant is preparing and will serve a Plaintiff-specific privilege log when the

 8 Plaintiff-specific productions are completed, and in the meantime the nature of Defendant’s privilege

 9 claims are apparent from the labels used on the redactions themselves, and Defendant stands ready to

10 meet and confer with Plaintiffs regarding specific assertions at any time.

11                                  (c)    Government’s “Common Discovery” Production

12             Plaintiffs’ position: Defendant “re-produced” the entire “Common Discovery” on March 20,

13 2023. This “re-production” (1) omitted 1,799 documents that Defendant had previously produced, (2)

14 included 2,765 documents that were not in prior productions, and (3) included several previously-

15 produced documents with altered metadata. Defendant has not yet provided Plaintiffs with an

16 explanation for all of these changes. Almost all of the 1,799 previously-produced documents that were

17 excluded from the March 20 production are not listed on Defendant’s privilege log. Plaintiffs began

18 conferring about the March 20 production during a March 23 videoconference between counsel.

19 Defendant admitted that numerous documents first produced to Plaintiffs on March 20, 2023 were

20 produced in the Arizona litigation in October 2022. Defendant has not provided an explanation for this

21 delay. Also on March 20, Defendant produced a revised privilege log with 8,318 entries that Plaintiffs

22 are reviewing, including for the purpose of potentially challenging Defendant’s privilege assertions.

23 Finally, Plaintiffs are awaiting responses to multiple inquiries about technical aspects of Defendant’s

24 document production.

25             Defendant’s position: Defendant made an initial production of more than 200,000 pages of

26 Common Discovery on September 9, 2022, which consisted of all of the policy-level documents which
27 had been produced in the Arizona litigation at that time. In the months that followed, Defendant became

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 1 aware of technical issues with some of the Common Discovery documents; moreover, Defendant made

 2 additional productions in the Arizona litigation following Defendant’s September 9, 2022 production in

 3 this matter. Although Defendant was under no obligation to do so under the parties’ agreement for

 4 initial productions, Defendant made clear to Plaintiffs on November 4, 2022 that Defendant would in

 5 fact produce additional documents from the Arizona litigation to Plaintiffs. Notwithstanding

 6 Defendant’s agreement, Plaintiffs subsequently served 52 requests for production, including specific

 7 requests for these documents, on November 22, 2022, to which Defendant responded on January 12,

 8 2023, agreeing to produce all Common Discovery documents from the Arizona litigation. Defendant

 9 repeatedly experienced technical difficulties of its own in its efforts to locally process these very large

10 productions, and on March 20, 2023, Defendant again produced the Common Discovery documents to

11 Plaintiffs, reflecting the current Common Discovery set as of the date of that production, including

12 approximately 17,000 pages of documents that had been produced in the Arizona litigation between

13 September 2022 and March 20, 2023.

14             On April 4, 2023 Plaintiffs emailed Defendant with several questions about the March 20, 2023

15 Common Discovery production. Defendant informed Plaintiffs that it was investigating these questions

16 by coordinating with the DOJ attorneys who had collected and produced the Common Discovery in the

17 Arizona litigation in the first instance. Defendant will promptly answer Plaintiffs’ questions about the

18 Common Discovery as it obtains the information needed to do so.

19                                    (d)    Defendant’s Responses to Plaintiffs’ First Set of
                                             Interrogatories, Set One
20
               Plaintiffs’ position: On April 11, the day that the parties submitted this Joint Further Case
21
     Management Statement, the Court resolved the parties’ discovery dispute concerning Interrogatories
22
     Nos. 6 & 8, holding that Defendant’s use of Rule 33(d) in its responses to those Interrogatories was
23
     improper and ordering Defendant to produce supplemental responses. Defendant also used Rule 33(d)
24
     in a substantively similar manner in its other responses (Nos. 1-5 & 7). Plaintiffs requested that
25
     Defendants supplement its responses to these Interrogatories. Defendant has not replied. Plaintiffs will
26
     continue to confer with Defendant about these responses.
27
               Separately, Defendant agreed to serve a supplemental response to one interrogatory, but has not
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 1 provided a date certain by when it will do so. Defendant has not identified the individual(s) who will

 2 verify these interrogatory responses, which impedes the deposition process.

 3             Defendant’s position: Defendant is currently assessing the Court’s discovery ruling of the

 4 morning this Joint Case Management Statement is due, which may impact the parties’ ongoing

 5 discussions regarding these interrogatories. Moreover, as Defendant has informed Plaintiffs, Defendant

 6 is working diligently to identify the necessary representative(s) from the relevant federal agencies for

 7 purposes of verifications, and Defendant will serve such verifications when they have been finalized.

 8                                   (e)     Depositions

 9             Plaintiffs’ position: Defendant is hampering Plaintiffs’ ability to conduct depositions. The

10 primary obstacle is Defendant’s decision, described above, not to provide substantive responses to

11 written discovery. In addition, Defendant is not forthcoming about allowing discovery into its potential

12 trial witnesses. Defendant’s initial disclosures identify 28 potential witnesses that Defendant may call at

13 trial. Plaintiffs asked to confer about this and requested that Defendant narrow its list. Defendant

14 refused—in fact, on April 7, Defendant stated that it would identify additional relevant “individuals” for

15 Plaintiffs’ consideration. Defendant also refuses to produce custodial documents for 17 of the

16 individuals on its initial disclosures. Further, Defendant refuses to respond to multiple interrogatories

17 that seek the identities of key actors in the events at issue.

18             With respect to the number of depositions, given the complexity of the underlying events, the

19 court overseeing the Arizona litigation allowed plaintiffs there to take at least 18 depositions. Defendant

20 provided some of these deposition transcripts to Plaintiffs here. Plaintiffs are willing to confer with

21 Defendant about ways to streamline depositions, given the production of the Arizona depositions here.

22 But Defendant has not yet agreed to the admissibility of any of the Arizona depositions in this matter,

23 which is an important threshold issue that inhibits Plaintiffs’ ability to confer further about the use the

24 Arizona depositions in this case. And, Defendant’s “proposal” referred-to below involved Defendant

25 proposing that Plaintiff take no depositions of “policy-makers,” something Plaintiffs cannot agree to at

26 this point. Plaintiffs will continue to confer with Defendant about how to conduct depositions in this
27 case. Plaintiffs believe that it is premature for the Court to wade into this dispute but foresee the

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 1 likelihood that the Court may need to resolve a dispute on this point.

 2             Defendant’s position: Plaintiffs again misrepresent Defendant’s discovery responses.

 3 Defendant has repeatedly identified its potential witnesses in its matter, through its initial disclosures,

 4 the documents it has produced to Plaintiffs, and its interrogatory responses, including most recently its

 5 April 10, 2023 responses to Plaintiffs’ Second Set of Interrogatories, which identify the additional

 6 witnesses that Defendant represented to Plaintiffs on April 7, 2023 would be forthcoming. Plaintiffs

 7 have plenty of information with which they can evaluate potential witnesses and prioritize their

 8 depositions. Indeed, Plaintiffs have been in possession of over 200,000 pages of policy-level documents

 9 for more than six months, and more than 20,000 pages of Plaintiff-specific documents for more than

10 three months, yet Plaintiffs still assert that they need Defendant to explain to them which witnesses

11 Plaintiffs should depose. With respect to the policy-level depositions, Defendant put forward a proposal

12 months ago for how the transcripts from those depositions could be used in this matter, but Plaintiffs

13 stated that they needed to review those transcripts before making any determinations regarding policy

14 depositions here. Defendant recently asked Plaintiffs whether they had completed their review and

15 determined whether they believe additional policy-level depositions are warranted here. Plaintiffs have

16 not responded to Defendant’s question.

17             Defendant understands that Plaintiffs are willing to work cooperatively on a plan for depositions

18 in this matter, such that duplicative depositions of witnesses who were previously deposed in similar

19 litigation can be avoided. The parties will continue to confer on such a plan.

20                            (vi)   Medical Records

21             Defendant has indicated that it intends to subpoena all of Plaintiffs’ medical records. During the

22 parties’ meet and confer, Plaintiffs raised an overbreadth and relevance objection. To date, in response

23 to parallel discovery requests concerning their medical care, Plaintiffs have agreed only to produce

24 records from mental health providers. Defendant, on the other hand, believes that Plaintiffs’ medical

25 conditions bear directly on the issue of mental health and, therefore, are relevant to their damages

26 claims. To date the parties have agreed to bifurcate the two issues and for now, the parties are working
27 collaboratively to see if they can agree upon the scope of the subpoenas to Plaintiffs’ mental health

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 1 providers. Defendant may seek judicial relief in the event the parties are not able to resolve their dispute

 2 concerning Plaintiffs’ medical records.

 3
                              (vii)   Medical Examinations
 4
               On April 10, 2023 (the day before the parties filed this Statement), Defendant presented a
 5
     proposal to Plaintiffs explaining the nature and estimated timing of medical examinations. The parties
 6
     will confer further regarding these proposed medical examinations of Plaintiffs. Defendant’s proposal
 7
     contemplates commencing the examinations in June 2023.
 8
               9. Class Actions
 9
               This case is not a class action.
10
               10. Related Cases
11
               There are approximately 30 pending cases across district courts in this country that arise out of
12
     separations of non-citizen families at the U.S-Mexico border in 2017 or 2018. See ECF No. 47 at 7. Two
13
     are pending in this District: I.T. v. United States, No. 4:22-cv-05333-DMR; and J.R.G. v. United States,
14
     4:22-cv-05183-KAW.
15
               11. Relief Sought
16
               Plaintiffs’ Complaint seeks the following relief: compensatory damages, punitive damages,
17
     attorney’s fees and costs, and “[s]uch other and further relief as the Court deems just.” Each Plaintiff’s
18
     FTCA administrative claim sought $5 million in damages, for a total of $30 million requested by the
19
     Complaint. ECF No. 1-1.
20
               12. Settlement and ADR
21
               In 2021, the government engaged in negotiations to globally settle district court cases and
22
     pending administrative tort claims arising from family separations at the U.S.-Mexico border. Neither
23
     the Plaintiffs in this case nor their counsel were part of those negotiations. No settlement was reached.
24
               In their Rule 26(f) conference, the parties discussed ADR and agreed that they would exchange
25
     disclosures and pursue discovery before engaging in any further ADR discussions.
26
               Defendant’s further statement: Defendant has filed its ADR certification and still believes it is
27
     premature to engage in ADR at this time given the amount of discovery remaining to be conducted,
28
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 1 including depositions and medical examinations of Plaintiffs, and the significant damages demanded by

 2 Plaintiffs ($30 million).

 3             Plaintiffs’ further statement: At the initial CMC, Plaintiffs’ counsel requested that—in lieu of

 4 verbally translating the Court’s ADR manual into Mam and obtaining a Spanish translation of the

 5 manual—the Court permit Plaintiffs’ counsel to verbally counsel Plaintiffs about this Court’s ADR

 6 program, including the substance of the ADR manual. The Court verbally agreed. Plaintiffs and their

 7 counsel have complied. Plaintiffs are prepared to participate in ADR (other than arbitration) whenever

 8 Defendant indicates that it is not “premature” to do so.

 9             13. Other References

10             None.

11             14. Narrowing of Issues

12             The parties continue to engage in meet and confer to narrow the issues in the case.

13             15. Expedited Trial Procedure

14             None suggested at this time.

15             16. Scheduling

16             The parties agree that a modification of the case schedule is necessary. In particular, the parties

17 agree that the fact discovery cut-off, the schedule for expert discovery, and the summary judgment

18 briefing schedule and hearing date should be extended by one month, as indicated in the table below.

19 (For clarity, the parties agree on the dates through the January 11, 2024 hearing date.)

20             However, the parties disagree as to whether these proposed modifications require moving the

21 trial date and associated pre-trial deadlines. On this point, the parties ask for the Court’s guidance at the

22 forthcoming CMC. The parties’ proposals are as follows:

23                  Event            Current Dates           Plaintiffs’ Proposed   Defendant’s Proposed
                                                                     Dates                 Dates
24    Fact discovery cut-off          June 9, 2023            September 8, 2023      September 8, 2023
25
      Opening expert                  June 30, 2023          September 22, 2023       September 22, 2023
26
      disclosures
27
      Rebuttal expert                 July 28, 2023           October 20, 2023         October 20, 2023
28
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 1    disclosures

 2    Expert discovery cut-         August 25, 2023         November 10, 2023        November 10, 2023
 3    off
 4    Summary judgment                                       October 24, 2023         October 24, 2023
 5    opening briefs
 6    Summary judgment                                      November 21, 2023        November 21, 2023
 7    opposition briefs
 8    Summary judgment                                      December 19, 2023        December 19, 2023
 9    replies
10    Summary judgment             December 7, 2023          January 11, 2024          January 11, 2024
11    hearing
12    Deadline for pre-trial        March 15, 2024           March 15, 2024             April 11, 2024
13    meet and confer
14
      Pre-trial filings due         March 25, 2024           March 25, 2024             April 25, 2024
15
      Pre-trial conference           April 24, 2024           April 24, 2024            May 22, 2024
16
      First day of trial              May 6, 2024              May 6, 2024              June 10, 2024
17

18
               Plaintiffs’ Position: Moving the trial date would prejudice Plaintiffs. Plaintiffs understand that
19
     the Court’s docket is congested and do not assume, as Defendant seems to, that the Court can
20
     accommodate a four-week continuance of the trial date. Plaintiffs’ objection to moving the trial date is
21
     informed by their understanding that if the Court does vacate the existing trial date, the Court’s calendar
22
     may require it to set a new trial date that is many months later than the current May 2024 date, a
23
     problem Defendant ignores. Any significant alteration of the trial date would harm Plaintiffs’ ability to
24
     present their case. Plaintiffs expect that their own testimony will play a key role at this trial about
25
     emotional distress. Plaintiffs will not be presenting routine testimony like a commercial witness does.
26
     Rather, Plaintiffs’ recollections of the events at issue were formed under traumatic circumstances and
27
     the memories of the children Plaintiffs in particular may be difficult to preserve already nearly five years
28
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 1 after the events at issue. Furthermore, this case has already been substantially delayed by Defendant. At

 2 the outset of this case, Defendant obtained multiple extensions of its deadline to respond to Plaintiff’s

 3 complaint—about six months' worth—over Plaintiffs’ objections.

 4             Plaintiffs believe that it is feasible to conduct pre-trial proceedings on the schedule Plaintiffs

 5 propose. There are approximately 10 weeks between the summary judgment hearing and the deadline

 6 for pre-trial filings. This is sufficient time to allow counsel to prepare the case for trial. (Indeed, when

 7 factoring in the December holidays, the proposed change to the pre-trial period is quite modest.)

 8 Defendant may note that Defendant would need to prepare for trial while Defendant’s anticipated

 9 summary judgment motion is pending. While Plaintiffs endeavor to reduce inefficiencies wherever

10 possible, parties commonly prepare for trial with summary judgment pending and, critically, the

11 proposed extension of the discovery cut-offs is the result of Defendant’s positions in discovery and the

12 anticipated need for the Court to resolve the substantial discovery disputes described in Section 8(v) of

13 this Statement.

14             Finally, Plaintiffs, too, believe that Defendant’s “finger-pointing exercise” and the additional

15 “context” that Defendant provides below are unnecessary. The Court should resolve the dispute about

16 the trial date on the merits of the Government’s request and Plaintiffs’ objection. Plaintiffs will merely

17 note that it is unpersuasive for the Government to invoke past, now-resolved disputes to justify vacating

18 a trial date more than a year away. Indeed, Section 8(v) of this Statement speaks for itself; virtually

19 every outstanding discovery dispute is about the Government’s responses to Plaintiffs’ discovery

20 requests. And as for the timing of Plaintiffs’ discovery requests, Plaintiffs engaged in a review of the

21 Common Discovery produced in September 2022 before propounding case-tailored discovery in

22 November 2022—something the Government urged Plaintiffs to do.

23             Defendant’s Position: The thrust of the dispute between the parties is whether one additional

24 month should be added to the pretrial and trial schedule. Defendant believes that Plaintiffs will suffer no

25 prejudice by adding roughly four weeks to that schedule. Plaintiffs cite the need to preserve the

26 memories of the children Plaintiffs yet those memories will be recorded in (1) medical examinations that
27 Defendant proposes to commence in two months and (2) depositions in the fact discovery period that

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 1 Plaintiffs already agree to extend by three months to September 8, 2023. As the Court explained in the

 2 parties’ initial case management conference specifically on the topic of the length of the pretrial

 3 schedule, the Court and the parties need ample time to receive the summary judgment order and then

 4 negotiate, plan for and file the multitude of pretrial papers in a case that is neither light on documents or

 5 witnesses. Defendant believes that it is wholly reasonable to extend the pretrial and trial schedule one

 6 month when the summary judgment hearing is also being extended one month.

 7             Finally, Defendant does not believe it is productive to engage in a finger-pointing exercise to

 8 attribute blame for any schedule extensions in this case or to cast aspersions because of delay at the

 9 outset of the case while the United States sought (unsuccessfully) to engage in a nationwide settlement

10 of family-separation cases. But in the interest of full context, Defendant points out that for

11 approximately four months Plaintiffs unilaterally ceased production of any documents in this case,

12 including their own medical and other records, notwithstanding the existence of a carefully considered

13 and negotiated protective order entered by this Court in September 2022 and Plaintiffs’ agreement to

14 produce such medical and other records by September 12, 2022. Moreover, Defendant was forced to

15 seek judicial relief when for months Plaintiffs continued to object to the relevance of their employment

16 and community activities notwithstanding their significant damages claims that their lives had been

17 transformed by the government’s tortious acts. Plaintiffs also waited more than two months after

18 discovery opened on September 13, 2022 to serve their first sets of discovery requests on November 22;

19 by contrast, Defendant expeditiously served its first discovery requests on September 13, 2022, the first

20 day that it could. After Defendant served its responses to Plaintiffs’ first requests, Plaintiffs waited

21 another six weeks before beginning the meet-and-confer process regarding those requests. The fact is

22 that Plaintiffs initiated the topic of a schedule modification during the parties’ meet and confers several

23 weeks ago. And Defendant agreed because it is in the interest of both parties and the Court to complete

24 the necessary discovery in this case.

25             17. Trial

26             Plaintiffs and Defendant agree that claims brought under the FTCA are tried by the Court. The

27 Court has set the length of the trial for 10 days. ECF No. 53 at 1. As discussed at the Initial CMC, the

28
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 1 Court and the parties may revisit the exact amount of days for trial depending on the issues remaining in

 2 the case and the necessary witnesses and evidence.

 3             18. Disclosure of Non-Party Interested Entities or Persons

 4             Plaintiffs are unaware of any non-party interested entities or persons. ECF No. 46.

 5             Defendant is exempt from this requirement as a federal government entity.

 6             19. Professional Conduct

 7             The parties’ counsel have reviewed the Guidelines for Professional Conduct for the Northern

 8 District of California.

 9             20. Such Other Matters As May Facilitate Just, Speedy and Inexpensive Resolution

10             None.

11

12    DATED: April 11, 2023                                  Respectfully submitted,

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14
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27             2
             In compliance with Civil Local Rule 5-1(h)(3), the filer of this document attests under penalty of
28 perjury that all signatories have concurred in the filing of this document.
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 1                                                LAWYERS’ COMMITTEE FOR CIVIL
                                                  RIGHTS OF THE SAN FRANCISCO BAY
 2                                                AREA
 3
                                                  /s/ Bree Bernwanger
 4                                                BREE BERNWANGER
                                                  VICTORIA PETTY
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